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                        UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF MASSACHUSETTS

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In re
 Marianna Luisa DiMarco-Cavuoto and
 Angelo Cavuoto                                             Chapter 13
                                                            Case No. 18-12622 -MSH

                    Debtor
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                                             Order



The debtor having received a discharge in a prior case, and having failed to respond to the court's Notice
as to why the debtor is entitled to a discharge in this case, in light of 11 U.S.C. § 727(a)(8) or (9), a
Notice of No Discharge shall enter., as to both debtors.




                                                     By the Court,



                                                     _____________________________
                                                      Melvin S. Hoffman
                                                     United States Bankruptcy Judge
Dated: July 25, 2018
